Case 2:Ol-CV-02503-SH|\/|-tmp Document 629 Filed 07/11/05 Page 1 of 4 Page|D 739

 

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FOR THE wEsTERN DISTRICT oF TENNESSEE SJUL ll p
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FEDERAL EXPRESS coRPoRATION, W/UGM¥`[:_"CT
Plaintiff,
vs. No. 01-2503-Ma

ACCU SORT SYSTEMS INC.,

Defendant.

 

ORDER DENYING MOTION AS MOOT

 

Before the court is plaintiff's June 29, 2005, motion to
file a reply in response to defendant's memorandum in opposition
to plaintiff’s motion to reconsider and revise and for partial
summary judgment in this matter. The court entered an order
denying plaintiff’s motion to reconsider and revise and for
partial summary judgment on July 6, 2005 (Docket Entry No. 603),
which renders this motion moot. The motion is denied.

11; is 30 0RDERED this /H<:ay Of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

